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 9                                IN THE UNITED STATES DISTRICT COURT

10                                    EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                             CASE NO. 1:19-CR-00190-NONE
12
                                    Plaintiff,             STIPULATION REGARDING USE OF
13                                                         VIDEOCONFERENCING DURING CHANGE OF
                             v.                            PLEA HEARING; FINDINGS AND ORDER
14
     ALEJANDRO MOLINA SANCHEZ,                             DATE: October 30, 2020
15                                                         TIME: 8:30 a.m.
                                   Defendant.              COURT: Hon. Dale A. Drozd
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17
                                                  BACKGROUND
18
            A grand jury indicted Defendant on one count of Conspiracy to Distribute and to Possess with
19
     Intent to Distribute Methamphetamine, in violation of 21 United States Code, Sections 846 and 841
20
     (a)(1) & (b)(1)(A), and one count of Distribution of Cocaine and Methamphetamine, in violation of 21
21
     United States Code, Section 841(a)(1), (b)(1)(A) & (b)(1)(C). Dkt 19. On September 9, 2020, the
22
     parties entered into a plea agreement. Dkt 33.
23
            On March 27, 2020, Congress passed the Coronavirus Aid, Relief, and Economic Security Act
24
     (“CARES Act”). The CARES Act empowered the Judicial Conference of the United States and Chief
25
     District Judges to authorize plea and sentencing hearings by video or telephonic conference when 1)
26
     such hearings “cannot be conducted in person without seriously jeopardizing public health and safety;”
27
     and 2) “the district judge in a particular case finds for specific reasons that the plea or sentencing in that
28
     case cannot be further delayed without serious harm to the interests of justice.” Id., Pub. L. 116-23

      STIPULATION REGARDING HEARING                         1
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 1 § 15002(b)(2).

 2          On March 29, 2020, the Judicial Conference of the United States made the findings required by

 3 the CARES Act, concluding that “emergency conditions due to the national emergency declared by the

 4 President under the National Emergencies Act (50 U.S.C. § 1601, et seq.) with respect to the

 5 Coronavirus Disease 2019 (COVID-19) have materially affected and will materially affect the

 6 functioning of the federal courts generally.”

 7          On June 29, 2020, the Chief Judge of this District, per General Order 620, also made the findings

 8 required by the CARES Act: “[F]elony pleas under Rule 11 of the Federal Rules of Criminal Procedure

 9 and felony sentencings under Rule 32 of the Federal Rules of Criminal Procedure cannot be conducted
10 in person without seriously jeopardizing public health and safety.” Accordingly, the findings of the

11 Judicial Conference and General Order 620 establish that plea and sentencing hearings cannot take

12 safely take place in person.

13          In order to authorize plea hearings by remote means, however, the CARES Act—as implemented

14 by General Order 620—also requires district courts in individual cases to “find, for specific reasons, that

15 felony pleas or sentencings in those cases cannot be further delayed without serious harm to the interests

16 of justice.” General Order 620 further requires that the defendant consent to remote proceedings.

17 Finally, the remote proceeding must be conducted by videoconference unless “videoconferencing is not

18 reasonably available.” In such cases, district courts may conduct hearings by teleconference.

19          The parties hereby stipulate and agree that each of the requirements of the CARES Act and

20 General Order 620 have been satisfied in this case. They request that the Court enter an order making
21 the specific findings required by the CARES Act and General Order 620. Specifically, for the reasons

22 further set forth below, the parties agree that:

23          1)      The plea hearing in this case cannot be further delayed without serious harm to the

24 interest of justice, given the public health restrictions on physical contact and court closures existing in

25 the Eastern District of California;

26          2)      The defendant waives his physical presence at the hearing and consents to remote hearing

27 by videoconference and counsel joins in that waiver.

28                                                 STIPULATION

       STIPULATION REGARDING HEARING                      2
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 1          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

 2 through defendant’s counsel of record, hereby stipulate as follows:

 3          1.      The Governor of the State of California declared a Proclamation of a State of Emergency

 4 to exist in California on March 4, 2020.

 5          2.      On March 13, 2020, the President of the United States issued a proclamation declaring a

 6 National Emergency in response to the COVID-19 pandemic.

 7          3.      In their continuing guidance, the Centers for Disease Control and Prevention (CDC) and

 8 other public health authorities have suggested the public avoid social gatherings in groups of more than

 9 10 people and practice physical distancing (within about six feet) between individuals to potentially
10 slow the spread of COVID-19. The virus is thought to spread mainly from person-to-person contact,

11 and no vaccine currently exists.

12          4.      These social distancing guidelines – which are essential to combatting the virus – are

13 generally not compatible with holding in-person court hearings.

14          5.      On March 17, 2020, this Court issued General Order 611, noting the President and

15 Governor of California’s emergency declarations and CDC guidance, and indicating that public health

16 authorities within the Eastern District had taken measures to limit the size of gatherings and practice

17 social distancing. The Order suspended all jury trials in the Eastern District of California scheduled to

18 commence before May 1, 2020.

19          6.      On March 18, 2020, General Order 612 issued. The Order closed each of the courthouses

20 in the Eastern District of California to the public. It further authorized assigned district court judges to
21 continue criminal matters after May 1, 2020 and excluded time under the Speedy Trial Act. General

22 Order 612 incorporated General Order 611’s findings regarding the health dangers posed by the

23 pandemic.

24          7.      On April 16, 2020, the Judicial Council of the Ninth Circuit declared a judicial

25 emergency in this District pursuant to 18 U.S.C. § 3174(d), based on the District’s “critically low

26 resources across its heavy caseload.” The report accompanying the Judicial Council’s declaration
27 analyzed the public safety dangers associated with the COVID-19 pandemic and examined both the

28 District’s caseload (the District currently ranks first in the Ninth Circuit and eighth nationally in

       STIPULATION REGARDING HEARING                      3
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 1 weighted filings) and its shortage of judicial resources (the District is currently authorized only six

 2 district judges; two of those positions are currently vacant and without nominations). The report further

 3 explained that a backlog of cases exists that “can only start to be alleviated” when the CDC lifts its

 4 guidance regarding gatherings of individuals.

 5          8.      On April 17, 2020, General Order 617 issued, continuing court closures through June 1,

 6 2020 and authorizing further continuances of hearings and exclusions under the Speedy Trial Act.

 7          9.      On May 13, 2020, General Order 618 issued, continuing court closures until further

 8 notice and authorizing further continuances of hearings and exclusions under the Speedy Trial Act.

 9          10.     Given these facts, it is essential that Judges in this District resolve as many matters as

10 possible via videoconference and teleconference during the COVID-19 pandemic. By holding these

11 hearings now, this District will be in a better position to work through the backlog of criminal and civil

12 matters once in-person hearings resume.

13          11.     The plea hearing in this case accordingly cannot be further delayed without serious harm

14 to the interests of justice. If the Court were to delay this hearing until it can be held in-person, it would

15 only add to the enormous backlog of criminal and civil matters facing this Court, and every Judge in this

16 District, when normal operations resume.

17          12.     Under CARES Act § 15002(b), defendant consents to proceed with this hearing by video-

18 teleconference. Counsel joins in this consent.

19          IT IS SO STIPULATED.

20
      Dated: October 21, 2020                                 MCGREGOR W. SCOTT
21                                                            United States Attorney
22
                                                              /s/ STEPHANIE M. STOKMAN
23                                                            STEPHANIE M. STOKMAN
                                                              Assistant United States Attorney
24

25    Dated: October 21, 2020                                 /s/ Alonzo Gradford
                                                              Alonzo Gradford
26
                                                              Counsel for Defendant
27                                                            ALEJANDRO MOLINA
                                                              SANCHEZ
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       STIPULATION REGARDING HEARING                      4
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 1                                         FINDINGS AND ORDER

 2         1.      The Court adopts the findings above.

 3         2.      Further, the Court specifically finds that:

 4                 a)      The plea hearing in this case cannot be further delayed without serious harm to

 5         the interest of justice;

 6                 b)      The defendant has waived [his/her] physical presence at the hearing and consents

 7         to remote hearing by videoconference; and

 8         3.      Therefore, based on the findings above, and under the Court’s authority under § 15002(b)

 9 of the CARES Act and General Order 620, the plea hearing in this case will be conducted by
10 videoconference.

11 IT IS SO ORDERED.

12
        Dated:    October 23, 2020
13                                                     UNITED STATES DISTRICT JUDGE

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      STIPULATION REGARDING HEARING                      5
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